Case 2:11-cV-05138-.]S Document 29-6 Filed 12/23/13 Page 1 of 2

CONTINGENT FEE AGREEMENT

l hereby constitute and appoint the law firm of Popper & Yatvilz, as my attorneys to prosecute

 

a claim for damages and/or t1espass against those 1esponsible. The claimant is
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l hereby agree that the compensation of my attorneys shall be determined as follows:

Out of whatever sum is received from this claim, either by way of settlement or verdict, my
said attorneys shall retain Foity Percent (40%) of the gross recovery as counsel fees.

l hereby authorize my said attorneys to pay out of any proceeds of settlement or trial, any
unpaid medical bills for treatment or services made necessary by the injuries sustained in this
incident., as well as other lien holders who may have claims against any recovery l may receive,
including any Department of Public Welfare or child support liens.

ln the event attorney's fees are awarded either by the coult or by settlement, my said attorneys
shall be entitled to either the attorney's fees or the aforementioned contingency fee, which ever is
greater, but not both.

All expenses incident to prosecution of the case are to be born by me, the client, however,
SHOULD NO lV[()NEY BE RECOVERED BY SUIT OR SET'I`LEMENT, my said attorneys a1e
to have no claim against me for services rende1ed or costs expended However, should the Court
award costs or fees to any defendant, these amounts shall be the sole obligation of client. lf l dismiss
my said atto1ney, l ag1ee to immediately reimburse my attorneys for all services rendered and:osts
expended, and I further agree that my said attorneys shall have a lien against my claim, which shall
be satisfied by any subsequent counsel I may hire, from any funds received on my behalfl

l Agree to fully cooperate with my attorneys and swear and affirm that all the information
provided by me to my attorneys is true, correct and complete, to the best of my knowledge,
information and belief. l hereby authorized my attorneys to deposit any check received into a trust
account and to disburse funds pursuant to this agreement

I hereby acknowledge receipt of a duplicate copy of this Contingent Fee Agreement.

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Signature

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